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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    NO. 4:13CR00068-04 JLH

RASHEAD STATON                                                                      DEFENDANT

                                             ORDER

       Pending before the Court is the motion to withdraw and for substitution of counsel for

defendant Rashead Staton filed by CJA Panel Attorney B. Dale West. Good cause having been

shown, the motion is GRANTED. Document #197.

       IT IS THEREFORE ORDERED that CJA Panel Attorney Danny W. Glover is hereby

appointed to represent defendant Rashead Staton in all further proceedings. B. Dale West is relieved

from any further representation of the defendant in this matter.

       IT IS SO ORDERED this 13th day of December, 2013.



                                                     ________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
